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11
12                             UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14
15     BACKGRID USA INC., a California               Case No.: 2:18-cv-04975 VAP (MRWx)
       corporation,
16                                                   Hon. Virginia A. Phillips
              Plaintiff,
17     v.                                            DECLARATION OF JOANNA
                                                     ARDALAN IN RESPONSE TO
18     AU SHOWBIZ, entity type unknown; and          ORDER TO SHOW CAUSE RE
       DOES 1-10, inclusive,                         SERVICE OF AU SHOWBIZ
19
              Defendants.
20                                                   Complaint Filed: September 14, 2018
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            DECLARATION OF JOANNA ARDALAN IN RESPONSE TO ORDER TO SHOW CAUSE
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 1          1.     I, Joanna Ardalan, am counsel of record for Backgrid USA, Inc., in the above
 2    captioned action.
 3          2.     The above captioned action is a copyright infringement lawsuit. Backgrid
 4    filed certain DMCA takedown notifications to YouTube in response to Defendant’s
 5    infringement as according to 17 U.S.C. § 512(c)(3). In response to those notifications,
 6    Defendant filed counternotifications as according to 17 U.S.C. § 512(g)(3). The
 7    counternotifications filed by Defendant included a consent to accept service of the
 8    complaint through the email address ‘kemichoice@gmail.com’ and a consent to
 9    jurisdiction. See Exhibit 1, p. 3.
10          3.     I emailed the contents of Exhibit 1 to kemichoice@gmail.com' on January 9,
11    2019. Attached as Exhibit 1 is a true and correct copy of the email and letter with
12    attachments reminding Defendant that it consented to accept service and consented to
13    jurisdiction through its counternotification, an example of Defendant’s counternotification,
14    the Complaint and other case opening documents.
15          4.     I received a response to my January 9, 2019 email directed to the
16    ‘kemichoice@gmail.com.’ The response acknowledged that the Defendant caused the
17    filing of the counternotifications.
18
19    Dated: January 10, 2019                       ONE LLP
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21                                                   By: /s/ Joanna Ardalan
                                                         Joanna Ardalan
22                                                       Attorneys for Plaintiff,
                                                         Backgrid USA Inc.
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          DECLARATION OF JOANNA ARDALAN IN RESPONSE TO ORDER TO SHOW CAUSE
